       Case 4:12-cr-00293-LPR Document 86 Filed 04/23/13 Page 1 of 1



                             IN TilE UNITED STATES lTR.ICT COURT
                                   EASTERN DISTRICT O~!ARKANSAS                               JAMES                       ACK, CLERK
                                             WESTERN DJVI~ION                                 By:_--t---ll~t-++1----i-~=-::~~
                                                                                                                            DEP CLERK

UNITED STATBS OF AMERICA                                          II
         vs.                                NO. 4:12CR002U3-02 sww
                                                         q
                                                                  1:
Melvin Charles Gamble                                             li
                                                                  ii
                       WAIY~~CU8RARRAWTiMENT
                         A~o..~l'i'l1U:.QE..J!LI'~M NOT mruJ:Y
                (Pursuant to Rules lO :a.nd 43 of the fl'edetaiiRules of Crlmh•al Procedure)

         NOW COMI~S Defl/Jndant in the above" referenced
hereby acknowledges the following:
                                                               c1eli! who, elong with his/her undersigned att mey,
                                                                  1
I)       Defendaut has rec~ived a copy of the indictmJht, superseding indictment or rnlsde~ anor
         information In this case. Dl!fendant \lrlderstMds th4! m1ture t-u~d substaJ'lCe of tho ·~h4lrges con incd
         therein. the mll.l(imum penalties applicable theretoJjand his/her Constitutional rights, nfter e!ng
         advised"' all of the. 4lbove by his/her attorney.        ·11
                                                                  "
2)       ~f~ndiUH 'I.JOder&tands he/sh~ ha6 the right to appea~ ~rsQMlly with his/Iter ~ttorn~.oy ~fore a l~tl;lge
        for m;,ignment in open court on this acc"satlon. ~efendant furlher Ut\derstands that, absc 1t the
        pre11e1~t waiver, he/she willi:~G ao arraigned in op4n turt.

Defendant, havhti CQI1t\etred with hil;/h13r attorney in thi.s ~~rd. he~by ':valve" ~rsonal appearanc~ with
hlslher at'tQm~&y at the arr::~.ignment of this o.<~se and the read~'·g ofthQ indictment, supers101:ling indictrn nt or
information, and by this instrument ·tenders a plea M"not g ~hy." The defendant" understands that en ry by
the Court or sp,id plea for defendant will qonctw.1e the arrai): ment in this ~ase for all pufpOS~.
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                                                      Defentjant · 'gnnhlre

         -ii/(JJ.{~--
         Dntc



)('       TJ1~ duf-cndm1t's tlktUUI!It to waive appearance t\t tl ~rndgtnltent ls hereby APPROVeD &nd a
          plea of not guilty is entere~~ tor the del~ndant effe~ve th\s.~ate,

          The defendant's request to waive appearance at th~iarrnlgn~ent Is hereby DENIED.

      Lf- Q 3-I 3__.,                                          ~~·l..LI.i::::3~:=...-........-+-
          Date



cc:      All Counsel of Recotd
         U.S. l,robntion Offloc
         U.S. Marsl1als Ser•vlce
         Presiding Magistrate Judge
